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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             Case No. 22-cv-23074-BLOOM/Otazo-Reyes

 OCTAVIO COLLADO,
 for himself and all others similarly situated,

         Plaintiff,

 v.

 450 NORTH RIVER DRIVE, LLC, et al.,

       Defendants.
 _____________________________________/

                        ORDER DENYING REQUEST FOR EXTENSION

         THIS CAUSE is before the Court upon Plaintiff Octavio Collado’s Motion for

 Enlargement of Time to File Statement of Claim. ECF No. [8] (“Motion”). Therein, Plaintiff

 requests an extension of time to file his Statement of Claim until after Defendants produce records

 identifying the hours Plaintiff worked and the compensation he received. Id. at 2. Plaintiff argues

 that, if he is required to file a Statement of Claim now, he will likely have to file an “Amended

 Statement of Claim after receipt of the relevant records[.]” Id. at 4.

         As Plaintiff correctly notes, the purpose of the Statement of Claim at the outset of litigation

 in Fair Labor Standards Act cases is “so that the parties can evaluate the value of the claims

 asserted early in the case to determine whether to resolve the case before protracted litigation[.]”

 Id. A perfectly accurate accounting is not necessary to achieve that goal. An estimate, based on

 the Plaintiff’s best recollection as to the hours he worked and compensation he received, will

 suffice. 1 As the Eleventh Circuit clarified in Calderon v. Baker Concrete Const., Inc., the




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   Likewise, to the extent other individuals have consented to join Plaintiff in this case, see ECF Nos. [4],
 [5], [7], it is not unreasonable to expect those individuals to be able to estimate the value of their claims.
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 Statement of Claim “does not have the status of a pleading,” so Plaintiff is not bound by the amount

 requested therein. 771 F.3d 807, 811 (11th Cir. 2014). For that reason, it will not be necessary for

 Plaintiff to file an Amended Statement in the likely event that discovery clarifies the amount of his

 claim.

          Accordingly, it is ORDERED AND ADJUDGED that Plaintiff’s Motion, ECF No. [8],

 is DENIED.

          DONE AND ORDERED in Chambers at Miami, Florida, on September 29, 2022.




                                                          _________________________________
                                                          BETH BLOOM
                                                          UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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